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                       Case No. 22-3952


            UNITED STATES COURT OF APPEALS
                 FOR THE SIXTH CIRCUIT


                            JOHN KOE,

                         Plaintiff-Appellant

                                 v.
   UNIVERSITY HOSPITALS HEALTH SYSTEM, INC., et al.

                        Defendants-Appellees ·


 ON APPEAL FROM THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO, EASTERN DIVISION


                REPLY BRIEF OF JOHN KOE




                    John Koe
                    PO Box 527
                    Novelty OH 44027-0527
                    Tel: (330) 732-5001
                    j ohnkoe@j ohnkoe. org

                    Plaintiff-Appellant, prose




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I.     JURISDICTIONAL STATEMENT1

       Koe’s pleadings make clear that he is seeking redress for injuries

related to conduct traceable to UH including Koe’s discriminatory

discharge during and motivated by his ongoing participation with an

EEOC investigation into a charge he filed. (RE1, Complaint, PageID# 9-

13). Koe has Article III standing because Koe is a real person with real

injuries including termination from his employment alleged to be

traceable to UH’s alleged discriminatory conduct made unlawful by

Title VII of the Civil Rights Act (“Title VII”) 42 U.S.C. § 2000e et seq,

the Americans with Disabilities Act (“ADA”) 42 U.S.C. § 12111 et seq.,

and the Genetic Information Non-Discrimination Act (“GINA”), 42

U.S.C. § 2000ff et seq. (Complaint, RE 1). The ADA and the GINA

incorporate by reference the powers, procedures, and remedies of Title

VII. 42 U.S.C. § 12117(a) and 42 U.S.C. § 2000ff-6(a). Congress gave the

courts the power and duty to hear and decide employment

discrimination actions in Title VII. Thus, the district court had federal


1
    As both Koe’s opening brief and UH’s response brief lack

jurisdictional statements, Koe provides this one.


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question jurisdiction under 42 U.S.C. § 2000e-5(f)(3) and 28 U.S.C. §

1331. Koe timely appealed from the final decisions of the district court.

The Court of Appeals has appellate jurisdiction under 28 U.S.C. § 1291.


II.   COUNTERSTATEMENT OF THE CASE2

      The plaintiff using the pseudonym “John Koe” filed his

employment discrimination complaint on August 15, 2022 initiating his

action. (Complaint, RE 1). Koe moved for IFP status at filing. (IFP

Application, RE 2). Koe moved for leave to proceed under a pseudonym

in the body of his complaint. (Complaint, RE 1 at PageID#6). On

September 16, 2022, UH filed a motion to dismiss contending that Koe’s

use of a pseudonym when filing his complaint instead of his legal name

deprived the district court of jurisdiction. (Motion to Dismiss, RE 3). On

October 10, 2022, UH moved for an order prohibiting Koe from directly



2 UH’s statement does not portray the factual record accurately and



fairly. About 50% of UH’s statement is a regurgitation of UH’s filings

in the district court. See RB, pp. 12-13. Cf. (RE 5, Mot. for Order,

PageID# 42-43); See also RB, pp. 14-17. Cf. (RE 5, Mot. for Order,

PageID# 40-42).


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communicating with its employees and affiliates and requiring Koe to

direct all communications to UH’s counsel of record. (Motion for

Protective Order, RE 5). The same or next day, the district court

considered the motion ex parte and issued a combined opinion, order,

judgment, and decree. (October 11, 2022 Order, RE 6). On October 13,

2022, the district court considering Koe’s complaint pursuant to IFP

screening: 1) granted Koe IFP status; 2) denied Koe leave to

pseudonymously ; 3) concluded that its denial of that leave meant it

lacked jurisdiction to hear Koe’s case; and 4) dismissed Koe’s complaint

and action for lack of jurisdiction. (Dismissal Order, RE 7 at

PageID#100-101). The dismissal order directed Koe to file a complaint

under his real name to continue his case and certified that “an appeal

from [its] decision could not be taken in good faith.” Id. The district

court entered a separate judgment the same day. (Judgment, RE 8). On

November 9, 2022, Koe moved the district court to reconsider and

modify its judgment. (Motion for Reconsideration, RE 9 at PageID#105-

119). The district court denied Koe’s motion the next day.

(Reconsideration Order, RE 10). Koe filed a timely notice of appeal on

November 14, 2022. (Notice of Appeal, RE 11).



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III. SUMMARY OF REPLY ARGUMENT

     UH avoids the issues, points, or authorities Koe identified and

does not even attempt to meet them head-on. Instead, UH resorts to

diffusion and dissimulation. Over 80% the argument in UH’s brief is a

near verbatim regurgitation of UH’s filings in the district court:

  RB Section, Pages             District Court Filing, PageID#

¶ D. Dismissal, pp. 27-33    RE 3, Motion to Dismiss, PageID# 26-30

¶ E. Order, pp. 34-38        RE 5, Motion for Order, PageID# 44-47



UH advances the novel argument that the doctrine of Garmon

preemption means that the district court is without jurisdiction to

adjudicate Koe’s employment discrimination action brought under Title

VII, the ADA, and the GINA. UH is wrong and its argument disregards

the well-established independent-federal-remedy exception to the

general doctrine described in published Sixth Circuit decisions. Because

the remedial scheme of Title VII is independent of the National Labor

Relations Board (“NLRB”) and Congress conferred the courts with the

jurisdiction to adjudicate Title VII actions, the district court’s

jurisdiction over Koe’s action exists concurrent with the primary



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jurisdiction of the NLRB to prevent and adjudicate unfair labor

practices.

       The non-binding decisions that the district court relied upon in

concluding that it lacked jurisdiction to hear Koe’s action are “drive-by

jurisdictional” rulings accorded no precedential effect. Koe’s filing of his

complaint using a pseudonym instead of his legal name is immaterial to

the district court’s subject-matter jurisdiction. UH has no good faith

counterargument.

       In issuing the Order dated October 11, 2022 prohibiting Koe from

communicating with other workers and restraining his ability to

communicate about his case, the district court acted in excess of

jurisdictional limitations enacted by Congress in the Norris-LaGuardia

Act of 1932, 29 U.S.C. § 101 et seq. UH does not attempt to argue that

these jurisdictional limitations do not apply. Instead, UH contends that

there was good cause for the Order under Rule 26(c) while disregarding

controlling Circuit precedent.


IV.     REPLY ARGUMENT

  A.     Garmon Does Not Affect the Jurisdiction of the District
         Court to Adjudicate Koe’s Title VII Action



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     UH contends that the broad preemption doctrine defined in San

Diego Building Trades Council v. Garmon, 359 U.S. 236 means that the

district court lacks jurisdiction to hear Koe’s employment

discrimination action. But UH disregards the well-established

independent civil remedy exception to the general doctrine. See e.g.

Pulte Homes, Inc. v. Laborers' Intern. Union, 648 F.3d 295, 300 (6th Cir.

2011); Trollinger v. Tyson Foods, Inc., 370 F.3d 602 (6th Cir. 2004).

When crafting Title VII, Congress created a remedial scheme entirely

independent from the National Labor Relations Board (“NLRB”)

entrusting the courts with the duty to hear and determine actions

brought under Title VII. 42 U.S.C. § 2000e-5(f)(3-5). Adjudication of

Koe’s action under Title VII, the ADA, and the GINA will not require

the district court to interpret the National Labor Relations Act, 29

U.S.C. §151 et seq. so any potential questions related to unfair labor

practices would amount to collateral issues. Thus, the district court’s

jurisdiction to hear and decide Koe’s employment discrimination action

is concurrent with, rather than preempted by the NLRB’s primary

jurisdiction to prevent and adjudicate unfair labor practices.


  B. Koe Has Challenged the District Court’s Refusal to Modify


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      its Judgment and Certification

     UH contends that Koe has not raised any argument regarding the

district court’s denial of that motion. (RB, 25). UH says that Koe failed

to identify or argue clear errors of law in the motion he filed urging the

district court to modify its decisions. (RB, 10 & 26). UH is wrong. A

decision to issue an order in excess of jurisdictional limitations enacted

by Congress and an erroneous dismissal for lack of jurisdiction when

jurisdiction exists constitute clear errors of law. Koe raised these issues

with the district court prior to taking his appeal. (Motion for

Reconsideration, RE 9 at PageID#105-119). On appeal, Koe expressly

identified the district court’s refusal to modify its judgment. (OB, pg. 4).

Where the district court is reversed on the jurisdictional errors Koe

raised, the district court’s refusal to modify its judgment would reflect

an abuse of discretion. As this issue is derivative of and intertwined

with the merits of Koe’s appeal from the underlying judgment, separate

argument would be repetitious.

     With respect to the district court’s 28 U.S.C. § 1915(a)(3)

certification, UH contends that Koe has waived a challenge to the

certification and that there is no clear authority allowing for appeal for



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such a certification. UH is wrong and is ignoring Circuit precedent.

“[Fed. R. App. P.] 24(a)(5) governs the procedure for consideration of a

request to proceed IFP on appeal after the district court has denied such

an application” Owens v. Keeling, 461 F.3d 763, 774 (6th Cir. 2006). Koe

has appealed the district court’s certification by (1) moving to proceed

IFP on appeal; (2) moving for reconsideration of the order denying IFP

status on appeal; and (3) paying the appellate filing fee—despite

financial hardship—to ensure this appeal would be heard and decided

on the merits. The district court’s failure to provide the written

statement explaining the reasons for its certification required by Fed. R.

App. P. 24(a)(3) denies Koe of the information needed to make a specific

and particularized challenge. However, where there is arguable merit to

the issues Koe has raised and especially if the district court is reversed

on those issues, there was a good faith basis for Koe’s appeal. Separate

argument as to the district court’s error so intertwined with the merits

of the appeal would be repetitious.

  C. Whether the Order was Improvidently or Erroneously
     Issued is a Question of Law Reviewed de novo

     Whether the Order prohibiting Koe from communicating with

other workers and about his case was improvidently or erroneously


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granted is a question of law. Focusing on the Rule 26(c) protective order

label, UH contends these sorts of orders are reviewed under an abuse of

discretion standard. But courts look past labels to the substance and

practical effects of an order. The Order in question is not a typical Rule

26(c) protective order “limited to the context of pretrial civil discovery”

and narrowly tailored to only “restrict dissemination of information

obtained through discovery.” Cf. Seattle Times Co. v. Rhinehart, 467

U.S. 20, 37-36 (1984) (holding an order issued based on a finding of good

cause under Rule 26(c), limited to the context of pretrial discovery, and

that does not restrict dissemination of information obtained outside of

discovery “does not offend the First Amendment.”). Rather, the Order

prohibits Koe from communicating directly with all UH employees and

affiliates and restrains Koe from communicating about his case. Thus,

the Order restrains Koe’s freedom of expression and freedom of

association protected by the First Amendment. While preliminary

injunctions are generally reviewed for abuse of discretion, when First

Amendment interests are implicated, the standard of review is de novo.

McGlone v. Bell, 681 F.3d 718, 728 (6th Cir. 2012). In this case, the

First Amendment issues are subsumed by the jurisdictional limitations



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enacted by Congress to guarantee individual workers, acting

individually and in concert, their full freedom of association and other

rights without interference from restraining orders and injunctions at

the behest of employers. 29 U.S.C. §102. Fed R. Civ. P. 26 does not

allow a district court to disregard jurisdictional limitations as the rules

“do not extend or limit the jurisdiction of the district courts.” Fed. R.

Civ. P. 82. In sum, questions of law, like whether the Order issued in

excess of jurisdictional limitations enacted by Congress, are reviewed de

novo.

  D. The Order Issued in Excess of Jurisdictional Limitations
     Enacted by Congress

        The jurisdictional limitations enacted in the Norris La-Guardia

Act of 1932 (“Act”), 29 U.S.C. §101 et seq., apply to all federal courts

and all cases “involving or growing out of a labor dispute.” Id. § 101.

Strict compliance with the provisions of the Act is a jurisdictional

prerequisite to the issuance of any restraining order or injunction. Id.

The Act broadly defines the labor dispute to include "any controversy

concerning terms or conditions of employment," 29 U.S.C. §113(c). Koe’s

case concerns the terms or conditions of employment and thus qualifies

as a labor dispute. Section 4 of the Act strips the federal courts of the


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jurisdiction to issue any restraining order or injunction prohibiting any

person interested in or participating in a labor dispute from a number

of protected activities. 29 U.S.C. § 104. These enumerated activities

include “giving publicity to the existence of, or the facts involved in, any

labor dispute by any non-violent and non-fraudulent means” and

seeking aid from other workers with respect to a lawsuit. 29 U.S.C. §

104(e, i, c-d). The district court lacked the jurisdiction to issue the Order

prohibiting Koe from communicating with other workers and restricting

his ability to communicate about his case. The district court was also

without jurisdiction to issue the Order on account of its failure to

comply with the procedural safeguard provisions of the Act. See e.g. 29

U.S.C. § 107. Specifically, the Order issued in the absence of, without

limitation:1) the required findings; 2) a charge of substantial and

irreparable injury to UH’s property; 3) testimony under oath; and 4) a

security sufficient to compensate Koe for injuries flowing from an

improvidently or erroneously issued order. Id. UH does not even

attempt to offer counterargument on the issue of the jurisdictional

limitations enacted in the Norris-LaGuardia Act.

 E.    The Order Issued Absent the Good Cause Required by
       Fed. R. Civ. P. 26(c)


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     This Circuit has emphasized that to justify a protective order, one

of Rule 26(c)(1)'s enumerated harms must be illustrated with a

particular and specific demonstration of fact, as distinguished from

stereotyped and conclusory statements. Serrano v. Cintas Corp., 699

F.3d 884, 901 (6th Cir. 2013) (citations omitted); Nix v. Sword, 11 F.

App'x 498 (6th Cir. 2001). UH contends there was good cause for the

Order dated October 11, 2022. Here, UH disregards controlling Circuit

precedent as to the good cause standard under Rule 26(c) and otherwise

fails to illustrate any clearly defined and serious injury related to

discovery. The Order issued based on the district court’s ipse dixit

assertion that the federal courts had the discretion to issue “Rule

26(c)(1) protective orders to protect parties from improper

communications directly from pro se plaintiffs.” (RE6, PageID# 94). The

Yao order does not help UH’s argument because it was issued based on

stereotyped and conclusory statements as to “best practice” for pro se

plaintiffs rather than a finding of a clearly defined and serious injury

related to discovery, much less one demonstrated as a matter of fact.

Yao v. Oakland Univ., No. 2:21-cv-10523, 2022 U.S. Dist. LEXIS 11428,

*3 (E.D. Mich. Jan. 20, 2022). UH failed and continues to fail to meet its


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burden of demonstrating a clearly defined and serious injury related to

discovery being sought. Thus, even under a Fed. R. Civ. P. 26(c)

analysis, the Order issued—ex parte—in the absence of the required

demonstration of good cause as defined by controlling Circuit precedent.

The district court’s decision to issue the order in the absence of the

required demonstration of a clearly defined and serious injury—much

less one that would justify the restraint on Koe’s rights and interests—

constitutes an error of law and an abuse of discretion. UH has no good

faith counterargument.


 F.    Use of a Pseudonym at Filing Has No Bearing on Subject-
       Matter Jurisdiction

      Questions of law like whether there is subject-matter jurisdiction

are reviewed is de novo. UH contends that Koe failed to “properly

commence” an action when he attempted to file his complaint using a

pseudonym rather than a legal name. UH says this means there was

never any jurisdiction. UH is wrong. “A civil action is commenced by

filing a complaint with the court.” Fed R. Civ. P. 3. “The clerk shall not

refuse to accept for filing any paper presented for that purpose solely

because it is not presented in proper form as required by these rules or



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any local rules or practices." Fed. R. Civ. P. 5(d). Thus, a complaint—

even one with defects—is filed when tendered to the clerk of the district

court. Koe’s complaint was date stamped filed by the district court clerk

on August 15, 2022. (RE 1, PageID# 1). There is no genuine dispute that

Koe filed his complaint and commenced his employment discrimination

action on August 15, 2022. Fed. R. Civ. P. 3, 7, and 10 cannot be

construed or applied to limit the jurisdiction of the district court

because the procedural rules “do not extend or limit the jurisdiction of

the district courts” Fed. R. Civ. P. 82. Whether Koe used a pseudonym

when he filed his complaint has nothing to do with the district court’s

subject-matter jurisdiction. Koe’s filing of a complaint under a legal

name rather than a pseudonym would not suddenly confer subject-

matter jurisdiction onto the district court where “no action of the

parties can confer subject-matter jurisdiction upon a federal court.” Ins.

Corp. of Ir. v. Compagnie Des Bauxites De Guinee, 456 U.S. 694, 702

(1982). UH characterizes Citizens for a Strong Ohio v. Marsh, 123 Fed.

Appx. 630, 637 (6th Cir. 2005) as “well-established precedent” but does

not address the fact that it is unpublished and not binding on the Court.

UH does not even attempt to respond to B.R. v. F.C.S.B., 21-1005 (4th



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Cir. 2021), holding that a plaintiff's failure to disclose her real name

when filing a complaint pseudonymously is immaterial to subject-

matter jurisdiction and rejecting Marsh and the related 10th Cir.

decision as drive-by jurisdictional rulings with no precedential effect. 3

After its own careful independent analysis, the Court should join the

Fourth Circuit in rejecting the Marsh decision and holding that a

plaintiff's use of a pseudonym instead of a real name when filing a

complaint has no bearing on subject-matter jurisdiction.


V.       CONCLUSION

        The jurisdictional limitations enacted in the Norris-LaGuardia

Act, mandate reversal of the district court’s decision to issue the order

prohibiting Koe from communicating with other workers and restricting

his ability to communicate about his case. The order should be vacated

or dissolved and declared improvidently granted. Koe requests any

other relief the Court deems just and proper.




3
    Nat’l Commodity & Barter Ass’n Nat’l Commodity Exch. v. Gibbs, 886

F.2d 1240, 1245 (10th Cir. 1989)


                                      15
     The district court has the power and duty to hear and decide Koe's

employment discrimination action on its merits. The district court's

decision to dismiss Koe's action for lack of jurisdiction must be reversed.

Koe requests that directions consistent with the relief requested in his

opening brief and any other relief the Court deems just and proper issue

on remand to ensure the just, speedy, and inexpensive determination of

Koe's case on the merits.



Dated: January 25, 2024                       Respectfully submitted,


                                              John Koe
                                              PO Box 527
                                              Novelty OH 44072-0527

                                              Tel: (330) 732-5001
                                              Email: john@johnkoe.org

                                              Plaintiff-Appellant, pro se




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                  CERTIFICATE OF COMPLIANCE

     This document complies with the type-volume limit of Fed. R. App.

P. 27(d)(2)(A) because, excluding the parts of the document exempted by

Fed. R. App. P. 32(f) in that this document contains 3048 words; and

This document complies with the typeface requirements of Fed. R. App.

P. 32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6)

because this document has been prepared in a proportionally spaced

typeface using Word in 14-point Century Schoolbook.


Dated: January 25, 2024

                                                      John Koe




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 ADDENDUM: DESIGNATION OF ADDITIONAL DOCUMENTS

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3. RE 11, Notice of Appeal, PageID#127




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42 U.S.C. § 2000e-5(f)(3-5) ......................................................................... f

Norris-LaGuardia Act, 29 U.S.C. § 101, et seq.
Section 1. [§ 101.] [Issuance of restraining orders and
injunctions; limitation; public policy]

No court of the United States, as defined in this chapter, shall have
jurisdiction to issue any restraining order or temporary or permanent
injunction in a case involving or growing out of a labor dispute, except
in a strict conformity with the provisions of this chapter; nor shall any
such restraining order or temporary or permanent injunction be issued
contrary to the public policy declared in this chapter.

Section 2 [§102.] [Public policy in labor matters declared]

In the interpretation of this chapter and in determining the jurisdiction
and authority of the courts of the United States, as such jurisdiction
and authority are defined and limited in this chapter, the public policy
of the United States is declared as follows:

Whereas under prevailing economic conditions, developed with the aid
of governmental authority for owners of property to organize in the
corporate and other forms of ownership association, the individual
unorganized worker is commonly helpless to exercise actual liberty of
contract and to protect his freedom of labor, and thereby to obtain
acceptable terms and conditions of employment, wherefore, though he
should be free to decline to associate with his fellows, it is necessary


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that he have full freedom of association, self-organization, and
designation of representatives of his own choosing, to negotiate the
terms and conditions of his employment, and that he shall be free from
the interference, restraint, or coercion of employers of labor, or their
agents, in the designation of such representatives or in self-organization
or in other concerted activities for the purpose of collective bargaining
or other mutual aid or protection; therefore, the following definitions of,
and limitations upon, the jurisdiction and authority of the courts of the
United States are enacted.

Section 4 [§104.] [Enumeration of specific acts not subject to
restraining orders or injunctions]

No court of the United States shall have jurisdiction to issue any
restraining order or temporary or permanent injunction in any case
involving or growing out of any labor dispute to prohibit any person or
persons participating or interested in such dispute (as these terms are
herein defined) from doing, whether singly or in concert, any of the
following acts:

(a) Ceasing or refusing to perform any work or to remain in any relation
of employment;

(b) Becoming or remaining a member of any labor organization or of any
employer organization, regardless of any such undertaking or promise
as is described in section 103 of this title;

(c) Paying or giving to, or withholding from, any person participating or
interested in such labor dispute, any strike or unemployment benefits
or insurance, or other moneys or things of value;

(d) By all lawful means aiding any person participating or interested in
any labor dispute who is being proceeded against in, or is prosecuting,
any action or suit in any court of the United States or of any State;

(e) Giving publicity to the existence of, or the facts involved in, any
labor dispute, whether by advertising, speaking, patrolling, or by any
other method not involving fraud or violence;



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(f) Assembling peaceably to act or to organize to act in promotion of
their interests in a labor dispute;

(g) Advising or notifying any person of an intention to do any of the acts
heretofore specified;(h) Agreeing with other persons to do or not to do
any of the acts heretofore specified; and

(i) Advising, urging, or otherwise causing or inducing without fraud or
violence the acts heretofore specified, regardless of any such
undertaking or promise as is described in section 103 of this title.


Section 7 [§107.] [Issuance of injunctions in labor disputes;
hearing; findings of court; notice to affected persons; temporary
restraining order; undertakings]
No court of the United States shall have jurisdiction to issue a
temporary or permanent injunction in any case involving or growing out
of a labor dispute, as defined in this chapter, except after hearing the
testimony of witnesses in open court (with opportunity for cross-
examination) in support of the allegations of a complaint made under
oath, and testimony in opposition thereto, if offered, and except after
findings of fact by the court, to the effect-

(a) That unlawful acts have been threatened and will be committed
unless restrained or have been committed and will be continued unless
restrained, but no injunction or temporary restraining order shall be
issued on account of any threat or unlawful act excepting against the
person or persons, association, or organization making the threat or
committing the unlawful act or actually authorizing or ratifying the
same after actual knowledge thereof;

(b) That substantial and irreparable injury to complainant's property
will follow;

(c) That as to each item of relief granted greater injury will be inflicted
upon complainant by the denial of relief than will be inflicted upon
defendants by the granting of relief;

(d) That complainant has no adequate remedy at law; and


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(e) That the public officers charged with the duty to protect
complainant's property are unable or unwilling to furnish adequate
protection.

Such hearing shall be held after due and personal notice thereof has
been given, in such manner as the court shall direct, to all known
persons against whom relief is sought, and also to the chief of those
public officials of the county and city within which the unlawful acts
have been threatened or committed charged with the duty to protect
complainant's property: Provided, however, That if a complainant shall
also allege that, unless a temporary restraining order shall be issued
without notice, a substantial and irreparable injury to complainant's
property will be unavoidable, such a temporary restraining order may
be issued upon testimony under oath, sufficient, if sustained, to justify
the court in issuing a temporary injunction upon a hearing after notice.
Such a temporary restraining order shall be effective for no longer than
five days and shall become void at the expiration of said five days. No
temporary restraining order or temporary injunction shall be issued
except on condition that complainant shall first file an undertaking
with adequate security in an amount to be fixed by the court sufficient
to recompense those enjoined for any loss, expense, or damage caused
by the improvident or erroneous issuance of such order or injunction,
including all reasonable costs (together with a reasonable attorney's fee)
and expense of defense against the order or against the granting of any
injunctive relief sought in the same proceeding and subsequently denied
by the court.

The undertaking mentioned in this section shall be understood to
signify an agreement entered into by the complainant and the surety
upon which a decree may be rendered in the same suit or proceeding
against said complainant and surety, upon a hearing to assess damages
of which hearing complainant and surety shall have reasonable notice,
the said complainant and surety submitting themselves to the
jurisdiction of the court for that purpose. But nothing in this section
contained shall deprive any party having a claim or cause of action
under or upon such undertaking from electing to pursue his ordinary
remedy by suit at law or in equity.



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Section 13 [§113.] [Definitions of terms and words used in
chapter]

When used in this chapter, and for the purposes of this chapter-

(a) A case shall be held to involve or to grow out of a labor dispute when
the case involves persons who are engaged in the same industry, trade,
craft, or occupation; or have direct or indirect interests therein; or who
are employees of the same employer; or who are members of the same or
an affiliated organization of employers or employees; whether such
dispute is (1) between one or more employers or associations of
employers and one or more employees or associations of employees; (2)
between one or more employers or associations of employers and one or
more employers or associations of employers; or (3) between one or more
employees or associations of employees and one or more employees or
associations of employees; or when the case involves any conflicting or
competing interests in a "labor dispute" (as defined in this section) of
"persons participating or interested" therein (as defined in this section).

(b) A person or association shall be held to be a person participating or
interested in a labor dispute if relief is sought against him or it, and if
he or it is engaged in the same industry, trade, craft, or occupation in
which such dispute occurs, or has a direct or indirect interest therein, or
is a member, officer, or agent of any association composed in whole or in
part of employers or employees engaged in such industry, trade, craft,
or occupation.

(c) The term "labor dispute" includes any controversy concerning terms
or conditions of employment, or concerning the association or
representation of persons in negotiating, fixing, maintaining, changing,
or seeking to arrange terms or conditions of employment, regardless of
whether or not the disputants stand in the proximate relation of
employer and employee.

(d) The term "court of the United States" means any court of the United
States whose jurisdiction has been or may be conferred or defined or
limited by Act of Congress, including the courts of the District of
Columbia.


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42 U.S.C. § 2000e-5(f)(3-5) [. . . jurisdiction and venue of United
States courts; designation of judge to hear and determine case;
assignment of case for hearing; expedition of case; appointment
of master]

(3) Each United States district court and each United States court of a
place subject to the jurisdiction of the United States shall have
jurisdiction of actions brought under this subchapter. Such an action
may be brought in any judicial district in the State in which the
unlawful employment practice is alleged to have been committed, in the
judicial district in which the employment records relevant to such
practice are maintained and administered, or in the judicial district in
which the aggrieved person would have worked but for the alleged
unlawful employment practice, but if the respondent is not found within
any such district, such an action may be brought within the judicial
district in which the respondent has his principal office. For purposes of
sections 1404 and 1406 of title 28, the judicial district in which the
respondent has his principal office shall in all cases be considered a
district in which the action might have been brought.

(4) It shall be the duty of the chief judge of the district (or in his
absence, the acting chief judge) in which the case is pending
immediately to designate a judge in such district to hear and determine
the case. In the event that no judge in the district is available to hear
and determine the case, the chief judge of the district, or the acting
chief judge, as the case may be, shall certify this fact to the chief judge
of the circuit (or in his absence, the acting chief judge) who shall then
designate a district or circuit judge of the circuit to hear and determine
the case.

(5) It shall be the duty of the judge designated pursuant to this
subsection to assign the case for hearing at the earliest practicable date
and to cause the case to be in every way expedited. If such judge has not
scheduled the case for trial within one hundred and twenty days after
issue has been joined, that judge may appoint a master pursuant to rule
53 of the Federal Rules of Civil Procedure.




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                     CERTIFICATE OF SERVICE

     I hereby certify that on this 25th day of January, 2024, I

electronically filed the foregoing document with the Clerk of the United

States Court of Appeals for the Sixth Circuit via the electronic mail box

designated for pro se filers:


      CA06 Pro_ Se_ Efiling@ca6.uscourts.gov

Service will be made on the following through the CM/ECF system and

thus through electronic mail on:

     David A. Campbell, III (OH Attorney# 66494)
     Gordon Rees Scully Mansukhani
     dcanipbell@grsm.com

     Donald Slezak (OH Attorney# 92422)
     Gordon Rees Scully Mansukhani
     dslezak@grsm.com




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